Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 1 of 23
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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF IOWA
                             EASTERN DIVISION


   - - - - - - - - - - - - - X
   UNITED STATES OF AMERICA, :
                             :
         Plaintiff,          :
                             :
   vs.                       :          Case No. 3:20-cr-00093
                             :
   JUSTIN TREANTON,          :      SENTENCING HEARING TRANSCRIPT
                             :
         Defendant.          :
   - - - - - - - - - - - - - X


                                 Courtroom, First Floor
                                 U.S. Courthouse
                                 131 East Fourth Street
                                 Davenport, Iowa
                                 Monday, February 28, 2022
                                 1:00 p.m.


   BEFORE:   THE HONORABLE STEPHANIE M. ROSE, Chief Judge.


   APPEARANCES:

   For the Plaintiff:            ANDREA L. GLASGOW, ESQ.
                                 United States Attorney's Office
                                 131 East Fourth Street, Suite 310
                                 Davenport, Iowa 52801

   For the Defendant:            JACK E. DUSTHIMER, ESQ.
                                 Law Offices of Jack E. Dusthimer
                                 1503 Brady Street
                                 Davenport, Iowa 52803-4600




                       KELLI M. MULCAHY, CSR, RDR, CRR
                          United States Courthouse
                      123 East Walnut Street, Room 115
                           Des Moines, Iowa 50309
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 2 of 23
                                                                          2

 1                           P R O C E E D I N G S

 2            (In open court, with the defendant present.)

 3            THE COURT:    Thank you.    You can be seated.

 4            We are here in the matter of the United States vs.

 5   Justin Treanton.    It's Case No. 3:20-cr-93.      The United States

 6   Probation Office is represented by Ashley Adams-Moon.            The U.S.

 7   Attorney's Office is represented by Andrea Glasgow, and she's

 8   joined by DCI Special Agent Mike McVey.       The defendant is

 9   personally present and represented by his attorney, Jack

10   Dusthimer.

11            Mr. Treanton, do you recall being in court in November

12   and pleading guilty to Counts 1 and 4 of an indictment filed

13   against you back in September of 2020?

14            THE DEFENDANT:     Yes, ma'am.

15            THE COURT:    And Count 1 of that indictment charged you

16   with production of child pornography; is that right?

17            THE DEFENDANT:     Correct.

18            THE COURT:    And I assume you recall that that offense

19   is punishable by at least 15 years and up to 30 years in prison,

20   at least 5 years and up to life on supervised release, a fine of

21   up to $250,000, and a $100 special assessment.        Do you remember

22   those penalties?

23            THE DEFENDANT:     Yes.   That's my understanding.

24            THE COURT:    And Count 4 charged you with possession of

25   child pornography, and that is punishable by up to 20 years in
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 3 of 23
                                                                      3

 1   prison, at least 5 years and up to life on supervised release, a

 2   fine of up to $250,000, and another $100 special assessment.         Do

 3   you remember those penalties as well?

 4            THE DEFENDANT:     Yes, ma'am.

 5            THE COURT:    And you understand you're here today to be

 6   sentenced?

 7            THE DEFENDANT:     I do.

 8            THE COURT:    Okay.   I have received and read the

 9   presentence report.    The most recent report is dated February

10   18th of 2022, and it's filed at Docket 65.        I have also read and

11   considered the sentencing memorandums filed by the parties at

12   Dockets 67 and 70, as well as today's filing found at Docket 72.

13            Ms. Glasgow, did you have a chance to review the

14   presentence report on behalf of the United States?

15            MS. GLASGOW:    Yes, Your Honor.

16            THE COURT:    And it looks like I'll need to resolve the

17   issue in the newest filing, but other than that, are there any

18   disputed guideline issues or factual matters I need to resolve

19   from the Government's point of view?

20            MS. GLASGOW:    No, Your Honor.

21            THE COURT:    Okay.   Mr. Dusthimer, did you have a chance

22   to review the presentence report with your client?

23            MR. DUSTHIMER:     I did.

24            THE COURT:    Can you briefly outline how you

25   accomplished that?
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 4 of 23
                                                                      4

 1             MR. DUSTHIMER:    I believe it was first received on

 2   December 22nd.   I mailed it down to him.       We had a telephone

 3   call on February 3rd, and I filed my objections the same day.        I

 4   received the final report, I think, on the 21st, and I did a

 5   cover letter -- maybe it was the 22nd.       I did a cover letter

 6   with him at that time as well.

 7             THE COURT:   And anything other than the newest filing

 8   that I need to resolve for your client today?

 9             MR. DUSTHIMER:    No.    Thank you.

10             THE COURT:   Okay.   Mr. Treanton, did you have enough

11   time to review your presentence report with your lawyer?

12             THE DEFENDANT:    I did.

13             THE COURT:   Was he able to answer whatever questions

14   you may have had?

15             THE DEFENDANT:    Yes.

16             THE COURT:   Have you been happy with him as your

17   lawyer?

18             THE DEFENDANT:    Yes.

19             THE COURT:   Okay.   Then with the agreement of the

20   parties, I do adopt the guideline calculation contained within

21   the final presentence report.      That calculation is as follows:

22   For Count 1, which is the production of child pornography count,

23   it starts at a base offense level of 32.

24             There is a four-level increase because the offense

25   involved minors who had not yet attained the age of 12.
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 5 of 23
                                                                        5

 1               There's a two-level increase because the offense

 2   involved the commission of a sex act or sexual contact.

 3               There is a two-level increase because the defendant

 4   knowingly engaged in the distribution of child pornography.

 5               There is a four-level increase because the material

 6   portrayed sadistic or masochistic conduct or other depictions of

 7   violence.

 8               There is a two-level increase because the defendant was

 9   the parent of the child who was victimized.

10               There is a two-level increase for obstruction of

11   justice.

12               That gives us an adjusted offense level of 48.       There

13   is then a five-level increase because of the defendant's conduct

14   that involves engaging in a pattern of prohibited sexual

15   conduct.

16               There is then a two-level decrease for acceptance of

17   responsibility.

18               Is the Government moving for that third level?

19               MS. GLASGOW:   Yes, Your Honor.

20               Just to clarify, I thought you just said a five-level

21   for pattern, and I think it's only a two-level.

22               THE COURT:   It's a two-level?

23               It's listed as a five-level increase under paragraph

24   56.

25               MS. GLASGOW:   I'm seeing that, Your Honor.     I think I
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 6 of 23
                                                                          6

 1   maybe had copied it over wrong.      I apologize.

 2              THE COURT:   Okay.   So the Government's moving for that

 3   third level?

 4              MS. GLASGOW:   We are, Your Honor.

 5              THE COURT:   So that gives us a Total Offense Level 53,

 6   but because the guidelines cap out at a 43, that base offense

 7   level becomes 43.

 8              Defendant is a criminal history category of V, so that

 9   would ordinarily give us a guideline range of life imprisonment,

10   but because of the statutory maximum here applicable to Count 1

11   and Count 4, that range effectively becomes 600 months'

12   imprisonment; 360 months on Count 1, which can be run

13   consecutively to the 240 months' imprisonment on Count 4.           Those

14   are the statutory maximums available on each of those two

15   counts.    Probation is precluded by statute.

16              Supervised release of 30 to life is applicable on each

17   count.    The fine range here is 50 to 250 thousand dollars on

18   each count, although I don't intend to impose a fine.            We'll

19   talk about restitution here in a few moments.        And there is a

20   $100 special assessment per count for a total of $200.

21              Ms. Glasgow, I understand that there aren't any victims

22   who wish to be heard, but would you like to make any record with

23   respect to the request by one of the prior, I guess, victim's

24   fathers?

25              MS. GLASGOW:   No further record than the filing, Your
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 7 of 23
                                                                         7

 1   Honor.   As the Court outlined, I did file a brief brief at

 2   Docket 72 outlining the request to speak.

 3             THE COURT:   Mr. Dusthimer, does your client have a

 4   position with respect to that request?

 5             MR. DUSTHIMER:    We are resisting, Your Honor.        We don't

 6   believe that it's an appropriate submission under these facts

 7   and circumstances.

 8             THE COURT:   Thank you, Mr. Dusthimer.

 9             Here's the bottom line on this:      I absolutely

10   understand why this man would want to speak to the Court.          I

11   would in his position as well.      The reason that I'm not going to

12   allow it is because it creates an appellate issue that, frankly,

13   makes this case live longer than it needs to otherwise live.

14             If I allow him to speak and the Eighth Circuit says I

15   should not have done that -- because what I assume he would say

16   is not kind things about this defendant.       And if the Eighth

17   Circuit decides that I shouldn't have done that, the case comes

18   back and has to be resentenced.

19             If Mr. Dusthimer were to allow that to happen and this

20   man speaks and says things that are not positive about the

21   defendant, then the defendant may accuse Mr. Dusthimer of

22   ineffective assistance of counsel, and then that turns into a

23   whole nother layer of appellate issues that we deal with for

24   years down the road to come.

25             I think all of that is a risk that we need not take
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 8 of 23
                                                                      8

 1   here.   There is ample evidence in the record of the

 2   dangerousness of this defendant and the seriousness of the

 3   offenses that he has committed in this case, and those things, I

 4   think, are where I should spend my focus at the time of

 5   sentencing.

 6              So although I am very sympathetic to this man, I don't

 7   think it is wise to allow that kind of statement to be made

 8   here, and so I do decline to allow him to speak.

 9              Ms. Glasgow, what is your position with respect to an

10   appropriate sentence in this case?

11              MS. GLASGOW:   Thank you, Your Honor.

12              The Government is seeking a guideline sentence in this

13   case.   As the Court has just gone through, the enhancements in

14   this case really speak to the level of violence and the

15   aggravating factors here.

16              The defendant victimized his own child, who was only 4

17   years old at the time.     The offense included hands-on sex abuse.

18   His distribution of the child pornography, the material then

19   included violence and S & M material.       There was obstruction of

20   justice.   There's a pattern of conduct.      All of those things

21   separately, aside from the guidelines enhancements, are

22   aggravating factors here.

23              In addition, as the PSR indicates, this is an issue

24   where the child victim had been previously removed from

25   Mr. Treanton's care, and it's tragic that this situation was
 Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 9 of 23
                                                                         9

 1   allowed to unfold and that Mr. Treanton took the very small

 2   opportunity of access to the child that he had to do this

 3   behavior; to commit the sex abuse, to record it, to distribute

 4   it.

 5            All of this just shows the predatory nature of this

 6   defendant in the very limited access he had to the child and how

 7   quickly he took that situation to where we are right now.

 8            Additionally, as is outlined in the Presentence

 9   Investigation Report, aside from his own production of child

10   pornography, he also possessed child pornography, which the

11   nature of is outlined in the PSR.      It's aggravated child

12   pornography, including babies and toddlers.        There's videos

13   dating back to 2015, images back to 2017.

14            All in all, this is aggravated production and

15   possession of child pornography, and a guideline sentence is

16   appropriate.

17            THE COURT:    Thank you, Ms. Glasgow.

18            What is the Government seeking in restitution for the

19   victims of the Jenny and the Tara series?

20            MS. GLASGOW:    Your Honor, the Government is seeking

21   $3,000 each.

22            THE COURT:    And is the Government asking me to apply

23   the JVTA assessment or are you waiving that in light of the

24   restitution to Jenny and Tara?

25            MS. GLASGOW:    Yes, we are, Your Honor.
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 10 of 23
                                                                       10

 1             THE COURT:   Okay.   As I understand it -- I know the

 2   child is dead, she died in a house fire, as did Defendant's

 3   mother and stepfather, who had care of her at the time of her

 4   death.   Where is Mom in all of this?     Is she seeking any kind of

 5   restitution for funeral expenses, for anything else?

 6             MS. GLASGOW:   No, Your Honor.     We have -- our victim/

 7   witness coordinators have been in contact with her throughout

 8   this case.   She had not wanted to submit a statement and has not

 9   sought any restitution request.

10             THE COURT:   Okay.   Thank you.

11             Mr. Dusthimer, what is your suggested sentence here?

12             MR. DUSTHIMER:   I always try to be respectful to the

13   Court's question.   Is it time also for me to make my argument on

14   behalf of my client as well?

15             THE COURT:   Yes.

16             MR. DUSTHIMER:   Okay.   I just wanted to make sure.

17             THE COURT:   Yes.

18             MR. DUSTHIMER:   When I look at Mr. Treanton, I see a

19   gentleman who's a day younger than my middle child.         I look at

20   him, and I -- you know, decisions that have been made, the

21   functions of where he is today, the Presentence Investigation

22   Report touches on the struggles of his upbringing and the

23   struggles of his family relationship.       I include kidnapping,

24   victim of child abuse, substance abuse.

25             And I think of where he is today at age, if I did my
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 11 of 23
                                                                           11

 1   math right, 37 and where he's going to be if the Court imposes

 2   the whole 50 years.    If I did my math right, counting good time

 3   and counting time served, he'll be over 80.

 4              It is an intense struggle because he's been very open

 5   with me.   We did not challenge or contest any of the

 6   circumstances that are set forth in the plea agreement.          He

 7   regrets what he did, but he also admits that he did them.         We

 8   pled guilty, even though, depending on how these things go, it

 9   may not have made any difference to him, and he's hoping and

10   believing the Court will take his consideration and his decision

11   to accept responsibility in determining a sentence which is

12   sufficient, but not greater.

13              As I set forth in my sentencing memorandum, if we give

14   him 200 months, that gives the Federal Bureau of Prisons at

15   least another 15 years of therapy and cognitive treatment and

16   counseling, and he will be getting out at just over the age of

17   50.   As I noted, that he does not qualify for anything other

18   than the minimum good time calculations regardless of the

19   circumstances because of the nature of the offense.

20              This Court is aware of the sentencing guidelines' most

21   recent child abuse -- or child pornography reports that suggest

22   that, you know, with the abysmal development of the Internet

23   that what we first originally thought were significant, and

24   sometimes even grotesque, aggravating factors are not quite, but

25   almost, run-of-the-mill.    That's my paraphrase of the sentencing
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 12 of 23
                                                                       12

 1   guidelines' summary for child pornography sentences and the

 2   sentencing range.

 3               He knows that there's restitution.    He's never

 4   challenged that.    But we truly submit that a sentence

 5   sufficient, but not greater than necessary, for these types of

 6   events under -- for this person that's sitting next to me today,

 7   200 months is a sufficient, but not greater than necessary,

 8   sentence.

 9               I note that if you don't add any of the aggravating

10   factors but you don't give him acceptance because of the

11   obstruction, a level 32, criminal history puts him at 188 to

12   235.   And I also note we're kind of in the middle of that one,

13   so that would be the -- not quite the middle, I guess.

14               That would be the end of my argument.

15               THE COURT:   Thank you, Mr. Dusthimer.

16               Any program or placement requests?

17               MR. DUSTHIMER:   At one point he said Milan, Michigan,

18   because of family.

19               THE COURT:   Okay.   Mr. Treanton, this is the time in

20   the hearing when you can say what you might want to say.         You

21   don't have to say anything, but is there anything you would like

22   to say at this time?

23               THE DEFENDANT:   Well, I woke up at 3 o'clock this

24   morning and kind of jotted down a bunch of things.        I've been

25   somewhat -- I guess what I'm stalling to say is all of the
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 13 of 23
                                                                      13

 1   actions that I've taken in the past five years, whether it be to

 2   my daughter's mother, which is in the back row here, or

 3   Mr. Heatherly, I believe his last name is, I know all my actions

 4   that I've taken against anybody in their families or my family

 5   has -- has greater consequences than any sentence that the Court

 6   can impose on me due to just mental anguish and other factors

 7   that -- I'm sorry.    I wasn't really -- I guess I wasn't really

 8   prepared to actually read this.

 9            I guess losing the trust in all the people that once

10   upon a time trusted me, that's kind of one of the biggest

11   burdens that are kind of taking me under.       I apologize, but the

12   words will never take back any of the things that I've been

13   accused of.   I'll never be able to make things right with any of

14   my family since -- especially since the fire.

15            It's just a lot of -- a lot of things that are from my

16   past are where the fault lies within what's going on today, and

17   I just -- I hope that eventually the people that I affected

18   their lives can forgive me or come to terms with thinking about

19   forgiving me one day.

20            I guess that's all I -- all I really have.

21            THE COURT:     Thank you, Mr. Treanton.

22            In this case I have considered all of the factors under

23   3553(a) and the advisory guidelines and the statutory penalties.

24            In January of 2020, an undercover officer in New

25   Zealand, who was investigating the sexual exploitation of
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 14 of 23
                                                                            14

 1   children, met the defendant in a child pornography-focused chat

 2   room.   Defendant soon sent the undercover officer videos of

 3   himself sexually abusing his preschool-aged daughter.            He also

 4   described to the undercover officer that he had been abusing his

 5   daughter for about a year.     The videos and chats were ultimately

 6   traced back to the defendant in Bettendorf, Iowa.

 7               Further investigation led to the seizure of the

 8   defendant's cell phone, and on that phone officers found

 9   evidence of Defendant's sexual abuse of his daughter, as well as

10   a child pornography collection that featured additional children

11   and focused heavily on infants and toddlers and showed a strong

12   interest in bondage and in torture pornography that involved

13   toddlers.

14               After Defendant was arrested for sexually abusing his

15   daughter, he tried to find someone on the outside of the prison

16   to locate and erase the contents of his phone, giving another

17   inmate step-by-step instructions on how to do so to pass along

18   to someone outside the facility.

19               The defendant's daughter, who was the victim of his

20   abuse, died in a house fire after he was arrested.        That fire

21   also killed the defendant's mother and stepfather.

22               The defendant is 37 years old.    He was born in Iowa

23   City and raised primarily in Bettendorf and Davenport.           The

24   defendant's father was largely absent.       The family moved

25   frequently.    Defendant reports attending 22 schools in eight
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 15 of 23
                                                                        15

 1   districts as a child.

 2              He was sexually abused as a child and may also be the

 3   victim of production of child pornography himself.

 4              He has never married.   His only child was the daughter

 5   that is now dead.

 6              Defendant's in good physical health.      He has some

 7   situational depression but has never been diagnosed with any

 8   kind of serious mental health issue.

 9              His substance abuse history reaches back to ages 13 and

10   14 for marijuana, with heavy daily use of marijuana beginning by

11   age 16.    He also has a history of severe alcohol abuse dating

12   back to ages 14 to 15 and lesser uses of methamphetamine and

13   cocaine.

14              Defendant dropped out of high school in the tenth grade

15   but later earned a GED.    He has been employed throughout his

16   adult life, largely in construction.

17              Defendant's criminal history is lengthy and violent,

18   which is unusual, frankly, in our child pornography cases.         It's

19   not unusual in production cases to see somebody who has prior

20   sex abuse convictions with children, but it is unusual to see

21   this level of violence displayed in a criminal history.

22              Defendant has a juvenile adjudication for burglary, but

23   then he has adult convictions for aggravated battery with a

24   weapon, battery causing bodily harm, domestic abuse assault

25   second, domestic abuse, two convictions for assault, a
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 16 of 23
                                                                      16

 1   harassment, a child endangerment, another burglary conviction,

 2   an OWI, a possession of controlled substance, a possession of

 3   marijuana, disorderly conduct, criminal mischief, and public

 4   intoxication.

 5              On top of that, he has struggled to stay within the

 6   rules while he's been in custody pending resolution of this

 7   case.   At the Scott County Jail, he incurred six different

 8   disciplinary violations for threatening other people and

 9   disrupting security, refusing to obey orders or fighting.        He

10   then accrued an additional eight violations at the Muscatine

11   County Jail for disrupting security, demonstrating or

12   encouraging others to demonstrate, refusing lawful orders,

13   covering up lights or cameras, interfering with official

14   actions, or harassing the corrections staff.

15              All of these violations at Scott County Jail and

16   Muscatine County Jail spanned over the course of more than a

17   year, so it's not just an adjustment issue as he was newly in

18   custody.   It is something that has been pervasive in his stay.

19              This is a horrific crime, and the fact that the victim

20   is dead and will never have a chance to heal from what the

21   defendant did to her is incredibly tragic.       That the defendant

22   has harmed other people in his criminal history is telling.

23   That his interest is not only in child pornography but in a

24   particular genre of pornography that involves pain and torture

25   is telling.
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 17 of 23
                                                                        17

 1             I have done this now for almost ten years as a judge,

 2   and I see a lot of the same series over and over again.          I see a

 3   lot, unfortunately, of the Jenny series.       I see a lot of the

 4   Tara series.   I have never seen this series that is described in

 5   paragraph 35(a) of the presentence report.       I could have gone

 6   the rest of my life without knowing that that stuff was out

 7   there.   That there are people who enjoy torturing toddlers and

 8   that the defendant decided that was what he was going to collect

 9   or view in this case is -- is beyond words almost to me.

10             I work very hard when I sentence people to make sure

11   that people get credit for acceptance of responsibility, but I

12   don't know how to do it here because, for one, this is perhaps

13   one of the most dangerous people I've ever sentenced as far as

14   his recidivist behaviors and as far as the severity of what he

15   collected and what he did.

16             In order to give him some chance at acceptance of

17   responsibility, I would have to give an enormous reduction

18   because, frankly, he is off the charts in the guideline analysis

19   here, and I'm not comfortable doing that.       I don't think that

20   he's somebody who should do any less here than the statutory

21   maximum that I can give to him.     I think he's an extreme danger

22   to the community.

23             And so, having considered all of the factors here, I do

24   impose a sentence of 360 months on Count 1, 240 months on Count

25   2, with those sentences to run consecutively to one another, for
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 18 of 23
                                                                      18

 1   a total sentence of 600 months' imprisonment.

 2               I know that there's a lot of analysis going on right

 3   now in the guidelines and in the child pornography guidelines in

 4   particular, but these are not adjustments that we see in every

 5   case.   We don't see obstruction in every case.       We don't see a

 6   parent abusing their child in every case.       We don't see torture

 7   in every case.    He is well outside the norm.

 8               It's rare that we have that five-level increase for

 9   repetitive sexual conduct.     To get to a 53 capped at a 43,

10   highly, highly unusual.    And so even if I were ignoring the

11   guideline analysis here, I would have varied to the statutory

12   maximums in this case because of the serious nature of what

13   happened.

14               So I will recommend that the Bureau of Prisons place

15   the defendant at Milan, Michigan, if he qualifies for that

16   institution.

17               If the defendant is released from prison, he'll be on

18   supervised release for the rest of his life.       He is somebody who

19   obviously needs to be closely monitored and closely watched.          As

20   Ms. Glasgow said, that he took the very brief opportunities he

21   had to be around his daughter and used it to immediately

22   sexually abuse her, videotape it, then chat about it and brag

23   about it, speaks to how quickly he can become dangerous, and so

24   he's going to have to be supervised for the rest of his life

25   closely.
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 19 of 23
                                                                      19

 1            In addition to all the special conditions of

 2   supervision, I impose all of the special conditions that are

 3   suggested in the presentence report.      These include sex abuse --

 4   I'm sorry -- sex offense-specific programming; periodic

 5   polygraph testing; refraining from associating with anyone

 6   engaged in the exploitation of minors -- and all of these are

 7   laid out more fully in the sentencing order -- going to or

 8   remaining anyplace for the purpose of observing children, so

 9   defendant's banned from being anywhere near parks, schools,

10   playgrounds without the prior approval of the probation.

11            He can have no direct contact, including through

12   personal, email, electronic, or otherwise, with any child or

13   anybody he should reasonably know to be under the age of 18.

14            He can't have any contact with the victims here, and I

15   include here as victims the boy who was the subject of the brief

16   filed at Docket 72.

17            Defendant can't possess or view any visual depictions

18   of what would be considered essentially pornography or sexually

19   explicit conduct.   He can't have access to the Internet or

20   possess or use any kind of computer that has Internet

21   capabilities, including through phones that have those kind of

22   capabilities, unless the probation office approves it.

23            If he's allowed to have a computer or a phone that has

24   Internet capability, he's going to have to agree to installation

25   of monitoring hardware and software and the removal of those
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 20 of 23
                                                                       20

 1   items for searches periodically.      He can't have any kind of

 2   camera, including in any kind of cell phone, or any other

 3   recording device, without prior approval of the probation

 4   office.

 5             He is going to have to pay $3,000 in restitution to the

 6   victims of the Tara series and the Jenny series.        While that

 7   money is due and owing, the defendant will have to participate

 8   in a restitution program, which may include offset of any tax

 9   refund or Government payment.     It may include garnishment of

10   wages.

11             The defendant will have to provide complete access to

12   his financial information to the probation office so they can

13   set up a payment plan.    He can't solicit or incur any new debt

14   without permission from the probation office.

15             He'll have a substance abuse testing and treatment

16   condition.   He's prohibited from using alcohol of any kind.         He

17   can't patronize business establishments that make more than half

18   their money from the sale of alcohol.

19             He has to submit to our standard search condition, and

20   he'll have to register as a sex offender as further directed by

21   whatever state in which he lives.

22             I find Defendant does not have the ability to pay

23   interest on the restitution that has been ordered, so that will

24   not be done.

25             Defendant -- I'm sorry.     The Government has waived the
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 21 of 23
                                                                         21

 1   Justice for Victims of Trafficking Act assessment, so I do find

 2   that does not apply.

 3            I do order forfeiture consistent with the Preliminary

 4   Order of Forfeiture filed December 17th of 2021 at Docket 59.

 5            Defendant has to pay the $100 special assessment per

 6   count for a total of $200.

 7            The last thing to talk to you about, Mr. Treanton, is

 8   your right to appeal.    You have 14 days from today to appeal

 9   this sentence.   If you decide you want to appeal, let

10   Mr. Dusthimer know.    He'll file the paperwork for you.         It won't

11   cost you anything.    And he would handle the appeal.       That would

12   not cost you anything either.

13            If a notice of appeal is not filed in the next 14 days,

14   you forever give up your right to challenge this sentence.

15            Ms. Glasgow, I think we have Counts 2 and 3 to be

16   dismissed.

17            MS. GLASGOW:    Yes, Your Honor.     I move to dismiss

18   those.

19            THE COURT:     And those are dismissed.

20            Anything else for the Government?

21            MS. GLASGOW:    No, Your Honor.

22            THE COURT:     Ms. Adams-Moon, for probation?

23            THE PROBATION OFFICER:      No, Your Honor.

24            THE COURT:     Mr. Dusthimer, for the defendant?

25            MR. DUSTHIMER:    May I double-check?
Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 22 of 23
                                                                      22

 1            THE COURT:    Go ahead.

 2            (Mr. Dusthimer conferred with Mr. Treanton.)

 3            MR. DUSTHIMER:    Thank you.    Nothing further.

 4            THE COURT:    All right.    We're adjourned.

 5            (Proceedings concluded at 1:30 p.m.)

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Case 3:20-cr-00093-SMR-SBJ Document 84 Filed 03/28/22 Page 23 of 23

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 1                          C E R T I F I C A T E

 2             I, Kelli M. Mulcahy, a Certified Shorthand Reporter of

 3   the State of Iowa and Federal Official Realtime Court Reporter

 4   in and for the United States District Court for the Southern

 5   District of Iowa, do hereby certify, pursuant to Title 28,

 6   United States Code, Section 753, that the foregoing is a true

 7   and correct transcript of the stenographically reported

 8   proceedings held in the above-entitled matter and that the

 9   transcript page format is in conformance with the regulations of

10   the Judicial Conference of the United States.

11             Dated at Des Moines, Iowa, this 28th day of March,

12   2022.

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                                      Kelli M. Mulcahy, CSR, RDR, CRR
15                                    Federal Official Court Reporter

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